Dear Secretary Carnahan:
This office received your letter of May 7, 2007, submitting a summary statement prepared under Section 116.334, RSMo, for an initiative petition, submitted by Michael Mikkelsen, to amend Chapter 311, RSMo. The summary statement you submitted is as follows:
Shall Missouri law be amended to:
  • lower the legal age for the manufacture, sale, supply, purchase, possession and consumption of alcohol from twenty-one years of age to eighteen years of age;
  • remove the age limit to sell or handle liquor or beer; and
  • revise related criminal penalties consistent with the lower legal age
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the resolution, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
JEREMIAH W. (JAY) NIXON
                                               Attorney General